                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                                 (Electronically Filed)

JENNIFER BROOKS                                                             )
AND                                                                         )
ROBERT BROOKS,                                                              )
                                                        Plaintiffs          )
VS.                                                                         )
                                                                            )
HUMANA, INC.                                                                )
                                                                            ) Civil Action No.:
       SERVE:         Corporation Service Company                           ) 3:20-cv-331-JRW
                      Registered Agent                                      )
                      421 West Main Street                                  )
                      Frankfort, KY 40601                                   )
AND                                                                         )
                                                                            )
FEDERAL EMPLOYEES HEALTH BENEFIT PROGRAM,                                   )
                                                                            )
       SERVE:         United States Office of Personnel Management          )
                      1900 E Street, NW                                     )
                      Washington, DC 20415-1000                             )
                                                                            )
                                                        Defendants          )
_________________________________________________________________ )


                       NOTICE OF FILING TENDERED SUMMONS

       COME NOW the Plaintiffs, Jennifer Brooks and Robert Brooks, by counsel, in the

above-styled cause of action, and hereby gives notice to the Court, this day, two separate

summonses for the two (2) Defendants listed above.


       This the 13th day of May, 2020.




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                                      Respectfully submitted,

                                      JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                      869 Broadway Avenue
                                      P.O. Box 51093
                                      Bowling Green, Kentucky 42101
                                      Telephone: (270) 904-4141

                                      /s/ Harlan Judd________________
                                      Harlan E. Judd, III
                                      Counsel for Plaintiffs

                                  CERTIFICATE OF SERVICE

       This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
addressed as follows:

Humana, Inc.
Corporation Service Company
Registered Agent
421 West Main Street
Frankfort, KY 40601

Federal Employees Health Benefit Program
United States Office of Personnel Management
1900 E Street, NW
Washington, DC 20415-1000

   This the 13th day of May, 2020.

                                      /s/ Harlan Judd________________
                                      Harlan E. Judd, III
                                      Counsel for Plaintiffs




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